  Case
Form     24-03859 Doc 72
     G5 (20240301_bko)         Filed 05/21/24 Entered 05/21/24 08:57:21             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )         Case Number: 24-03859
                                             )
                                             )              Chapter: 11
The Neely Group, Inc.,                       )
                                             )                       Honorable A. Benjamin Goldgar
                                             )
               Debtor(s)                     )

                     AGREED ORDER GRANTING MOTION TO COMPEL
                         DEBTOR TO PAY POSTPETITION RENT

        THIS MATTER coming to be heard on the motion of Concord & Milwaukee Owner LLC and
California & Armitage Main Owner LLC (collectively, the “Landlords”) to compel the debtor to pay its
unpaid post-petition obligations due as of May 1, 2024 and thereafter (the May Rent” or “Rent”), under
the two unexpired leases attached as Exhibits A and B to the Motion (the “Leases”), for the Debtor’s
locations at 1658 N. Milwaukee and 2020 N. California, Chicago, Illinois, due notice having been
given, the court being fully advised, and the debtor and Landlords being in agreement, IT IS HEREBY
ORDERED:

  1. The motion is granted. Morrell Neely, debtor’s principal and the guarantor of the Leases, pro se
and not through counsel for the Debtor, must pay the Rent for May, 2024, in the requested amount of
$13,096.74, no later than May 21, 2024 at 4:00 p.m. CST at an address or by wire transfer in
acccordance with instructions from the Landlords, the payment to be made from his own personal funds
and not funds that are the property of the debtor's bankruptcy estate.

  2. Mr. Neely's right to reimbursement of the rent he pays is subordinate to the Landlords’ right to be
paid their rent under the Leases.

                                                          Enter:




Dated:   May 21, 2024                                              United States Bankruptcy Judge

Prepared by:
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